                                                                 Motion GRANTED.
                                                                 Extension to
                                                                 11/30/2018.
                   IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE


JAMES SWAIN RIEVES,                         )
SAMY ANGLY                                  )
AYOOB AYOOB                                 )
LOUIS SHAUN BERBERT                         )
AKRAM BISHARA                               )
ESKANDER ESKANDER                           )
GEORGE HANNA                                )
EHAB MALATY                                 )
ALAA MANKARIOUS                             )
NEVEN MANSOUR                               )
MICHEAL MARCOUS                             )
MENA MIKHAIL                                )
SCOTT RITTER                                )
GINA RITTER                                 )
FREDERICK SUBLETT                           )
MARIAN TADROUS                              )
MICHAEL ZAKARIA                             )
                                            )
       PLAINTIFFS,                          )
                                            )
v.                                          )    CASE NO. 3:18-cv-0965
                                            )
                                            )    JURY TRIAL DEMANDED
TOWN OF SMYRNA, TENNESSEE,                  )
POLICE CHIEF KEVIN ARNOLD, in his           )
official and individual capacity,           )
RUTHERFORD COUNTY, TENNESSEE,               )
DISTRICT ATTORNEY JENNINGS JONES,           )
in his official and individual capacity,    )
ASSISTANT DISTRICT ATTORNEY JOHN            )
ZIMMERMAN, in his official and individual   )
capacity, and SHERIFF MIKE FITZHUGH,        )
in his official and individual capacity.    )
                                            )
       DEFENDANTS.                          )


          UNOPPOSED MOTION OF RUTHERFORD COUNTY, TENNESSE
           AND SHERIFF MIKE FITZHUGH FOR EXTENSION TO FILE
                         RESPONSIVE PLEADING




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